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Attorneys for Plaintiffs



                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;               Case No.: 3:19-cv-01743-SB
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

                            Plaintiffs,
       v.                                      DECLARATION OF IRIS ANGELINA
                                               CASTRO IN SUPPORT OF
                                               PLAINTIFFS’ MOTION FOR A
                                               PRELIMINARY INJUNCTION

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

                            Defendants.




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       7    I upplied lbr my husband to come lo the United States 011 November 14. 20 I 8,
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           to stay home wJth llim. I was• forced to 11 11il my job and l lost 1111 0£ my be11cfits.
           Because I am unable to work, I have no souroe ofin11<m1e 11nd nn money in be
           <1blc-fn §how (ha\ we can afford private bci1Ul1 iusuraucl.l for my husbund.




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